                                                                                                                                                                                                                        Page:          1
                                            Case 13-62188-jwc                    Doc 19   Filed 10/30/14 Entered 10/30/14 19:03:06                                               Desc
                                                                                                   FORM 1
                                                                              INDIVIDUAL ESTATEPage  1 of 4RECORD AND REPORT
                                                                                                 PROPERTY
                                                                                                             ASSET CASES
Case No:                13-62188                             CRM              Judge:        C. Ray Mullins                                    Trustee Name:                        NEIL C GORDON, TRUSTEE
Case Name:              QUANG DUY NGUYEN                                                                                                      Date Filed (f) or Converted (c):     06/03/2013 (f)
                                                                                                                                              341(a) Meeting Date:                 07/01/2013
For Period Ending:      09/30/2014                                                                                                            Claims Bar Date:                     11/12/2013


                                     1                                                      2                               3                               4                            5                             6

                            Asset Description                                           Petition/                    Est Net Value                  Property Formally              Sale/Funds                      Asset Fully
                (Scheduled and Unscheduled (u) Property)                               Unscheduled               (Value Determined by                  Abandoned                   Received by                 Administered (FA)/
                                                                                         Values                   Trustee, Less Liens,                 OA=554(a)                    the Estate              Gross Value of Remaining
                                                                                                                      Exemptions,                                                                                    Assets
                                                                                                                   and Other Costs)

  1. PERSONAL RESIDENCE OWNED WITH WIFE WHO HAS                                                  109,303.00                            0.00                                                          0.00                        0.00
     MORTGAGE WITH BAN
  2. CASH LOCATION: 2202 LAKE HAVEN WAY, SUWANEE GA                                                    50.00                           0.00                                                          0.00                        0.00
     30024
  3. FIDELITY BANK CHECKING LOCATION: 2202 LAKE HAVEN                                                 100.00                           0.00                                                          0.00                        0.00
     WAY, SUWANE
  4. FIDELITY BANK CHECKING LOCATION: 2202 LAKE HAVEN                                                 186.00                           0.00                                                          0.00                        0.00
     WAY, SUWANE
  5. BANK OF AMERICA CHECKING LOCATION: 2202 LAKE                                                     110.00                           0.00                                                          0.00                        0.00
     HAVEN WAY, SUWA
  6. HOUSEHOLD GOODS                                                                                1,765.00                           0.00                                                          0.00                        0.00
  7. BOOKS, CD'S AND DVD'S                                                                             50.00                           0.00                                                          0.00                        0.00
  8. CLOTHING & SHOES LOCATION: 2202 LAKE HAVEN WAY,                                                  500.00                           0.00                                                          0.00                        0.00
     SUWANEE GA 3
  9. JEWELRY AND WATCHES LOCATION: 2202 LAKE HAVEN                                                    200.00                           0.00                                                          0.00                        0.00
     WAY, SUWANEE G
 10. CAMERA AND PHOTO EQUIPMENT LOCATION: 2202 LAKE                                                   150.00                           0.00                                                          0.00                        0.00
     HAVEN WAY, SU
 11. SPORTING EQUIPMENT, MISC. LOCATION: 2202 LAKE                                                     50.00                           0.00                                                          0.00                        0.00
     HAVEN WAY, SUW
 12. PERSONAL VEHICLE OWNS WITH WIFE 2003 TOYOTA                                                    2,400.00                           0.00                                                          0.00                        0.00
     TACOMA DATE PURC


                                                                                                                                                                                                      Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                             $114,864.00                          $0.00                                                          $0.00                       $0.00
                                                                                                                                                                                                    (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:
                                                                                                                                                                                                   Page:   2
                                        Case 13-62188-jwc                   Doc 19          Filed 10/30/14             Entered 10/30/14 19:03:06                      Desc
The Debtor and Evaline Nguyen ("Mrs. Nguyen") jointly own real property known located on Lake Haven Way in Suwanee, Gwinnett County, Georgia 30024 (the "Property"). Therefore, the
                                                                                                       Page
Debtor and Mrs. Nguyen each have an undivided half ownership interest in the Property. In Trustee's review       2 title
                                                                                                             of the of 4 to the Property, he determined Mrs. Nguyen alone executed a Home Equity
Line of Credit and Security Deed (the "Security Deed") dated November 9, 2007 and recorded May 2, 2008, in the original principal amount of $157,000.00 in favor of Bank of America, National
Association ("BOA"). The Debtor is not a party to the Security Deed. If Debtor had an undivided half interest in the Property, it is not encumbered by the Security Deed. Trustee has made a
settlement demand offer to BOA subject to bankruptcy court approval. Trustee is still awaiting its response. Trustee will file a lawsuit against BOA if no response is forthcoming.



Initial Projected Date of Final Report (TFR): 12/31/2014                Current Projected Date of Final Report (TFR): 04/30/2016

Trustee Signature:        /s/ NEIL C GORDON, TRUSTEE               Date: 10/30/2014
                          NEIL C GORDON, TRUSTEE
                          171 17th Street NW, Suite 2100
                          Atlanta GA 30363-1031
                          (404) 873-8596
                          (404) 873-8596
                                                                                                                                                                                         Page:           1
                                    Case 13-62188-jwc                Doc 19 Filed 10/30/14
                                                                                      FORM 2    Entered 10/30/14 19:03:06                             Desc
                                                                                    Page
                                                                  ESTATE CASH RECEIPTS AND3DISBURSEMENTS
                                                                                            of 4          RECORD
           Case No: 13-62188                                                                                       Trustee Name: NEIL C GORDON, TRUSTEE
      Case Name: QUANG DUY NGUYEN                                                                                    Bank Name:
                                                                                                            Account Number/CD#:


  Taxpayer ID No:                                                                                  Blanket Bond (per case limit): $1,000,000.00
For Period Ending: 09/30/2014                                                                      Separate Bond (if applicable):


       1                2                          3                                           4                                                  5                   6                     7

Transaction Date    Check or            Paid To / Received From                   Description of Transaction              Uniform Tran.     Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                 Code                                                          ($)
                                No Bank Accounts



                                                                                                      COLUMN TOTALS                                    $0.00                $0.00
                                                                                                            Less: Bank Transfers/CD's                  $0.00                $0.00
                                                                                                      Subtotal                                         $0.00                $0.00
                                                                                                            Less: Payments to Debtors                  $0.00                $0.00
                                                                                                      Net                                              $0.00                $0.00




                                                                             Page Subtotals:                                                           $0.00                $0.00
                                                                                                                                                                    Page:     2
                               Case 13-62188-jwc                Doc 19         Filed 10/30/14 Entered 10/30/14 19:03:06          Desc
                                                                                     Page 4 of 4

                                                                                                TOTAL OF ALL ACCOUNTS
                                                                                                                                                NET             ACCOUNT
                                                                                                              NET DEPOSITS       DISBURSEMENTS                   BALANCE
                                                      -                                                                 $0.00                  $0.00                 $0.00
                                                                                                                        $0.00                  $0.00                 $0.00

                                                                                                            (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                    transfers)            to debtors)
                                                  Total Allocation Receipts:                        $0.00
                                                  Total Net Deposits:                               $0.00
                                                  Total Gross Receipts:                             $0.00



Trustee Signature:   /s/ NEIL C GORDON, TRUSTEE           Date: 10/30/2014

                     NEIL C GORDON, TRUSTEE
                     171 17th Street NW, Suite 2100
                     Atlanta GA 30363-1031
                     (404) 873-8596
                     (404) 873-8596




                                                                             Page Subtotals:                                       $0.00                $0.00
